 

CUR|ALE DELLAVERSON HXR$CHFELD & KRA£MER, LLF

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Attome s for Defendant
EDUC TION MANAGEMENT

CORPORATloN

UNITED STATES DlsTRICT COURT

SOUTHERN DISTRICT OF CALIFGRNIA
’03 CV 4 3 ll B`|`N| POR
GREG CAMPBELL, v Case No.
P1aimiff, NOTICE 0F INTERESTED

1 PART IES

VS.
s D' s ' c .

EDUCATION MANAGEMENT [ an lego “pen°r mm Case N°

37-2008-00076304-CU-WT~ TL
CORPORATION; and DOESI C ]

through 25, inclusive,
Defendants.

 

 

 

 

NO'I`ICE OF INTERESTED PARTIES

4827-3531-34!0.Vl

 

 

 

 

 

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1 The undersigned counsel of record for Education Management Corporation
4 2 certifies that the following listed parties have a direct, pecuniary interest in the
3 outcome of this case. These representations are made to enable the Court to
4 evaluate possible disqualification or recusal:
5 (l) Greg Carnpbell
6 (2) Education Managernent Corporation
7 (3) Art Institute of Califomia ~ San Diego, operated by Education
8 Management Corporation
9
10
§ ll Dated: March 6, 2008 CURIALE DELLAVERSON
§ t 12 HIRSCHFELD & KRAEMER, LLP
§ 5 m 14 Reed E. Schapdr/ \v
§ 15 Attorne s for Defendant
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NorrcE oF rNTEREerD PARTlEs

 

 

 

 

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Case 3:08-cv-004WT|\/|-POR Document2 Filed.07/2008 Page3of3

 

' 1 PRooF oF sEerCE
2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
3 I, the undersigned, am a resident of the State of California, over the age of eighteen years,
and not a party to the within action. My business address is 2425 Olympic Boulevard, Suite 550
4 East Tower, Santa Monica, California 90404. On March 7, 2008, I served the following
document(s) by the method indicated below:
5 NOTICE OF INTERESTED PARTIES
6 El by transmitting via facsimile on this date from fax number (310) 255~0986 the
7 document(s) listed above to the fax number(s) set forth below. The transmission
was completed before 5:00 p.m. and was reported complete and Without error.
8 Service by fax was made by agreement of the parties, continued in Writing. The
transmitting fax machine complies with Cal.'R.Ct 2003(3).
o_ 9 l'£`l by placing the document(s) listed above in a sealed envelope(s) with postage
23_ 10 thereon fully prepaid, in the United States mail at Santa Monica, California
§ addressed as set forth below. I am readily familiar with the firm’s practice of
§§ 11 collection and processing con‘espondence for mailing Under that practice it would
§ _ be deposited in the U.S. Postal Service on that same day with postage thereon fully
§§ 12 prepaid in the ordinary course of business. l arn aware that on motion of the party
§ § 3 served, service is presumed invalid if postal cancellation date or postage meter date
§ § : 13 is more than one day after date of deposit for mailing in affidavit
§ § § 14 l:l by placing the document(s) listed above in a sealed envelope(s) and by causing
§ ‘ messenger delivery of the envelope(s) to the person(s) at the address(es) set forth
§ 15 below. I am readily familiar with the business practice of my place of employment
g with respect to the collection and processing of correspondence, pleadings and
3 16 notices for hand delivery. On March 7, 2008, I caused to be served via messenger
§ the above»listed documents
U
17 ill by personally delivering the document(s) listed above to the person(s) at the
18 address(es) set forth below.
[J by placing the document(s) listed above in a sealed envelope(s) and consignmg it
19 to an express mail service for guaranteed delivery on the next business day
20 following the date of consignment to the address(es) set forth below.
Joshua D. Gruenberg, Esq. Zachary T. Tyson, Esq.
21 LARABEE & GRUENBERG ~ TYsoN & rYsoN, LLP
22 2169 First Avenue 2550 Fiiih Avenue, 9th Floor
San Diego, CA 92101 San Diego, CA 92103
23 Telephone: (619) 230~1234 Telephone: (619) 237-9292
Facsimile: (619) 230-1074 Facsimile: (619) 615-2173
24 I declare under penalty of perjury under the laws of the State of Califomia that the above
25 is true and correct Executed on March 7, 2008, at Santa Monica, California.
. v - l
26 » __éf(eia.ad A"&ML/ '
Robbln T. DeRulse
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